




02-11-121-CV









 
  
  
   
    
   
   
    
    
    
    
    
   
  
  
  
  COURT OF APPEALS
  SECOND DISTRICT OF TEXAS
  FORT WORTH
  &nbsp;
  
 


&nbsp;

NO. 02-11-00121-CV

&nbsp;

&nbsp;


 
  
  Charles K. Eads
  
  
  &nbsp;
  
  
  APPELLANT
  
 
 
  
  &nbsp;
  V.
  &nbsp;
  
 
 
  
  Khosrow Sadeghian
  
  
  &nbsp;
  
  
  APPELLEE
  
 


&nbsp;

&nbsp;

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&nbsp;

FROM County
Court at Law No. 2 OF Denton COUNTY

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MEMORANDUM
OPINION[1] AND
JUDGMENT

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&nbsp;

On April
1, 2011, April 13, 2011, and May 19, 2011, we notified appellant, in accordance
with rule of appellate procedure 42.3(c), that we would dismiss this appeal
unless the $175 filing fee was paid.&nbsp; See Tex. R. App. P. 42.3(c).&nbsp;
Appellant has not paid the $175 filing
fee.&nbsp; See Tex. R. App. P. 5, 12.1(b).

Because
appellant has failed to comply with a
requirement of the rules of appellate procedure and the Texas Supreme Court’s
order of August 28, 2007,[2]
we dismiss the appeal.&nbsp; See Tex. R. App. P. 42.3(c), 43.2(f).

Appellant
shall pay all costs of this appeal, for which let execution issue.&nbsp; See
Tex. R. App. P. 43.4.

&nbsp;

PER
CURIAM

PANEL:&nbsp;
GABRIEL,
J.; LIVINGSTON, C.J.; and DAUPHINOT, J.

&nbsp;

DELIVERED:&nbsp;
June 9, 2011









[1]See Tex. R. App. P. 47.4.





[2]See Supreme Court of
Tex., Order Regarding Fees Charged in Civil Cases in the Supreme Court and
the Courts of Appeals and Before the Judicial Panel on Multidistrict Litigation,
Misc. Docket No. 07-9138 (Aug. 28, 2007) (listing fees in courts of appeals).







